Case 2:23-cv-01668-JMA-JMW
        Case 2:23-cv-01668 Document
                             Document
                                    1 54-1
                                      Filed 03/03/23
                                            Filed 04/29/24
                                                      Page 1
                                                           Page
                                                             of 111 PageID
                                                                    of 11 PageID
                                                                            #: 1 #: 379




      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
      ----------------------------------------------------------------------X   Case No.
      JADA WINTERS,

                                       Plaintiff,                               COMPLAINT

                       - against -
                                                                                PLAINTIFF DEMANDS
      PHOUNTAIN PH HOLDINGS CORP. and                                           A TRIAL BY JURY
      PATRICK COOLEY,

                                        Defendants.
      ----------------------------------------------------------------------X

             JADA WINTERS (“Plaintiff”), by and through her attorneys, PHILLIPS & ASSOCIATES,

     PLLC, against Defendants PHOUNTAIN PH HOLDINGS CORP. (“Phountain”) and PATRICK

     COOLEY (“Cooley”), alleges upon knowledge as to herself and her own actions and upon

     information and belief as to all other matters as follows:

                                             NATURE OF THE CASE

1.       This is a civil action based upon violations that Defendants committed of Plaintiff’s rights

         guaranteed to her by: (i) the discrimination and retaliation provisions of Title VII of the Civil

         Rights Act of 1964, as amended (“Title VII”); (ii) the discrimination and retaliation provisions

         of the New York State Human Rights Law, New York State Executive Law, § 296 et seq.

         (“NYSHRL”); (iii) the aiding and abetting provision under the NYSHRL; and (iv) any other

         claim(s) that can be inferred from the facts set forth herein.

                                          JURISDICTION AND VENUE

2.       The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331, as this action arises

         under 42 U.S.C. § 2000(e), et seq.

3.       The Court has supplemental jurisdiction over all state law claims pursuant to 28 U.S.C. §1367.

4.       Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)(1).
Case 2:23-cv-01668-JMA-JMW
        Case 2:23-cv-01668 Document
                             Document
                                    1 54-1
                                      Filed 03/03/23
                                            Filed 04/29/24
                                                      Page 2
                                                           Page
                                                             of 112 PageID
                                                                    of 11 PageID
                                                                            #: 2 #: 380




                              PROCEDURAL PREREQUISITES

5.    Plaintiff timely filed a complaint, upon which this Complaint is based, with the United States

      Equal Employment Opportunity Commission (“EEOC”).

6.    Plaintiff received a Notice of Right to Sue (“Notice”) from the EEOC dated December 20,

      2022 with respect to the instant charges of discrimination. A copy of the Notice is annexed to

      this Complaint.

7.    This action is being commenced within 90 days of receipt of the Notice of Right to Sue.

                                              PARTIES

8.    At all relevant times herein, Plaintiff was and is a resident of the State of New York. She was

      and is a “person” and an “employee” of Defendant Phountain and entitled to protection as

      defined by Title VII and the NYSHRL.

9.    At all relevant times herein, Defendant Phountain is a New York corporation, with its principal

      place of business located at 866 Manor Lane, West Babylon, New York 11704.

10.   At all relevant times herein, Defendant Phountain “employs” fifteen and thus one or more

      “employees,” and is thus an “employer” within the meaning of Title VII and the NYSHRL.

                                        MATERIAL FACTS

11.   Plaintiff became employed by Defendant Phountain’s location at 19 East Sunrise Highway,

      Lindenhurst, New York 11757 (the “Lindenhurst Store”) on or about August 31, 2020 as a

      Customer Service Representative.

12.   On or about April 19, 2021, Defendant Cooley was transferred to the Lindenhurst Store

      location and became Plaintiff’s supervisor.

13.   In or about April 2021, Defendant Cooley began sexually harassing Plaintiff.

14.   For example, when Plaintiff commented she was cold, Defendant Cooley would grab her hand



                                                    2
Case 2:23-cv-01668-JMA-JMW
        Case 2:23-cv-01668 Document
                             Document
                                    1 54-1
                                      Filed 03/03/23
                                            Filed 04/29/24
                                                      Page 3
                                                           Page
                                                             of 113 PageID
                                                                    of 11 PageID
                                                                            #: 3 #: 381




      and rub it.

15.   For an additional example, when the store was empty of customers, Defendant Cooley would

      touch Plaintiff’s shoulders and say he was a really affectionate person.

16.   On other occasions, Defendant Cooley stated to Plaintiff that she would “learn that [he was] a

      hugger.”

17.   On or about May 12, 2021, while Defendant Cooley was on a break, he sent Plaintiff a text

      asking, “Do you miss me?” Plaintiff ignored the text, but when Defendant Cooley returned he

      approached Plaintiff, asked if she received the text, and stated, “It’s okay, I know you don’t

      miss me.”

18.   On several occasions, Defendant Cooley would come up behind Plaintiff in close-knit spaces,

      such as behind the cash register counter, prompting her to leave the space until he vacated it.

19.   On numerous occasions, Defendant Cooley asked Plaintiff on dates and suggested they go

      away together for the weekend.

20.   Plaintiff never reciprocated Defendant Cooley’s advances or encouraged him in any way,

      instead focusing on her work and not responding to his suggestions of dates and trips or his

      other sexually harassing behavior.

21.   On or about May 19, 2021, Plaintiff, fed up, no longer felt comfortable reporting to work with

      Defendant Cooley. She did not go to work that day and instead reported Defendant Cooley’s

      sexual harassment to Human Resources representative Emily Catrone in a text message

      reading:

          “Good morning Emily I wanted to reach out to you as a woman and express to you
          that I have been feeling very uncomfortable working with Patrick these past couple
          of weeks. On several occasions he has invaded my personal space by touching my
          shoulders[,] coming behind me when standing at the register and being overly
          touchy. He has also sent an inappropriate text while we were working which I
          ignored and has implied several times that we should hang out outside of work. At

                                                   3
Case 2:23-cv-01668-JMA-JMW
        Case 2:23-cv-01668 Document
                             Document
                                    1 54-1
                                      Filed 03/03/23
                                            Filed 04/29/24
                                                      Page 4
                                                           Page
                                                             of 114 PageID
                                                                    of 11 PageID
                                                                            #: 4 #: 382




          this point this behavior and environment has really affected the way I view and feel
          within the work place, and felt I needed to speak up.”

22.   Catrone texted in reply, “Good morning Jada! Thank you for letting me know this. I’m glad

      you feel comfortable being able to do so. I will talk to Eric [Regional Manager] about it so he

      can handle the situation. Thank you.”

23.   Catrone followed up with a phone call to Plaintiff for more details, which Plaintiff provided,

      including the fact that Defendant Cooley had asked her for dates and suggested weekend trips.

      In this call, Plaintiff also shared that other female employees, from Defendant Phountain’s

      Massapequa location, had warned her about Defendant Cooley prior to his being transferred to

      the Lindenhurst Store. Catrone asked Plaintiff to ask the other women to reach out to Human

      Resources.

24.   After the call, Plaintiff forwarded Catrone the text from Defendant Cooley that read, “Do you

      miss me?” Catrone then sent Plaintiff a text that seemed to be intended for another recipient,

      reading, “We have a huge problem[.] 3 other girls came to Jada to warn her about him.”

25.   Catrone called Plaintiff later that day to ask if her absence from work that day had been related

      to the sexual harassment and her discomfort with Defendant Cooley. Plaintiff confirmed that

      this was correct.

26.   Catrone asked Plaintiff what Plaintiff wanted to do about the sexual harassment and asked if

      she wished to be transferred to another store. Plaintiff declined this offer, as she relies on public

      transportation and working at any other store would make her commute very difficult. She

      explained that she only wanted to be comfortable while at work.

27.   Approximately, two days later, Regional Manager Eric [Last Name Unknown] (“Eric”) called

      Plaintiff and left a message. When Plaintiff called back, Eric said, in reference to Plaintiff’s

      sexual harassment complaint, that they were “looking into everything like that and we

                                                     4
Case 2:23-cv-01668-JMA-JMW
        Case 2:23-cv-01668 Document
                             Document
                                    1 54-1
                                      Filed 03/03/23
                                            Filed 04/29/24
                                                      Page 5
                                                           Page
                                                             of 115 PageID
                                                                    of 11 PageID
                                                                            #: 5 #: 383




      appreciate you giving us a heads-up and sorry that went down.”

28.   Eric went on to say, “But really it kind of made us start looking into a lot of things,” and stated

      that Plaintiff’s employment was being terminated.

29.   As a reason for the termination, Eric cited tardiness, no-shows, having an “ex-employee”

      behind the counter, using her phone, and a reference to “the TikTok stuff” that Plaintiff did not

      understand.

30.   Prior to this call, Plaintiff had never been disciplined, counseled, or spoken to by management

      about any of the alleged problems cited by Eric, other than one write-up for tardiness. She had

      never had any “no shows”, had never had an “ex-employee” of Defendant Phountain behind

      the counter, and knows nothing about any “TikTok stuff.” Although she had occasionally been

      late on a few occasions due to problems with public transportation, she was not late 14 times,

      and she had always – other than the one occasion when she was written up – received approval

      from Defendant Cooley when she was late, as Defendant Cooley knew she relied on public

      transportation.

31.   When Plaintiff subsequently texted Catrone to ask to pick up her paycheck, Catrone responded

      by texting, “You are banned from our Corporate Stores. Your check has been mailed to you.

      Any questions ask Eric.”

32.   Plaintiff has never heard of any other terminated employee being “banned” from Defendant

      Phountain’s stores.

      AS A FIRST CAUSE OF ACTION FOR DISCRIMINATION UNDER TITLE VII
                       (Not Against the Individual Defendant)
                                (Sexual Harassment)

33.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this

      complaint.



                                                    5
Case 2:23-cv-01668-JMA-JMW
        Case 2:23-cv-01668 Document
                             Document
                                    1 54-1
                                      Filed 03/03/23
                                            Filed 04/29/24
                                                      Page 6
                                                           Page
                                                             of 116 PageID
                                                                    of 11 PageID
                                                                            #: 6 #: 384




34.   This claim is authorized and instituted pursuant to the provisions of Title VII of the Civil Rights

      Act of 1964, 42 U.S.C. § 2000e et seq,, for relief based upon the unlawful employment

      practices of Defendant.

35.   Title VII of the Civil Rights Act of 1964, as amended 42 U.S.C. § 2000e-2(a)(1), states in

      relevant part:

         It shall be an unlawful employment practice for an employer to fail or refuse to hire
         or to discharge any individual, or otherwise to discriminate against any individual
         with respect to their compensation, terms, conditions, or privileges of employment,
         because of such individual’s race, color, religion, sex, or national origin[.]
         (emphasis added).

36.   As described above, Defendant discriminated against Plaintiff on the basis of her sex, in

      violation of Title VII, by creating, fostering, condoning, accepting, ratifying, and/or

      negligently failing to prevent or remedy a hostile work environment that included, among other

      things, severe or pervasive sexual harassment of Plaintiff based on her sex.

37.   As a result of the unlawful discriminatory conduct of Defendant in violation of Title VII,

      Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress,

      including, but not limited to, depression, humiliation, embarrassment, stress and anxiety, loss

      of self-esteem and self-confidence, and emotional pain and suffering, for which she is entitled

      to an award of monetary damages and other relief.

38.   The unlawful discriminatory actions of Defendant constitute malicious, willful, and wanton

      violations of Title VII, for which Plaintiff is entitled to an award of punitive damages.

      AS A SECOND CAUSE OF ACTION FOR RETALIATION UNDER TITLE VII
                     (Not Against the Individual Defendant)
                                  (Retaliation)

39.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this

      complaint.



                                                    6
Case 2:23-cv-01668-JMA-JMW
        Case 2:23-cv-01668 Document
                             Document
                                    1 54-1
                                      Filed 03/03/23
                                            Filed 04/29/24
                                                      Page 7
                                                           Page
                                                             of 117 PageID
                                                                    of 11 PageID
                                                                            #: 7 #: 385




40.     Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e-3(a) provides that it

        shall be unlawful employment practice for an employer:

           [T]o . . . discriminate against any of his employees . . . because he has opposed any
           practice made an unlawful employment practice by this subchapter, or because he
           has made a charge, testified, assisted or participated in any manner in an
           investigation, proceeding, or hearing under this subchapter.

41.     As described above, Plaintiff engaged in protected activities, including making internal

        complaints to her supervisor regarding Defendant Cooley’s sexual harassment.

42.     As described above, after Plaintiff engaged in activity protected by Title VII, Defendant took

        adverse actions against Plaintiff by promptly terminating her employment, that would dissuade

        a reasonable employee from making or supporting a similar complaint of discrimination.

43.     As a result of Defendant’s unlawful discriminatory conduct in violation of the NYSHRL,

        Plaintiff has suffered, and continues to suffer, economic loss, for which she is entitled to an

        award of monetary damages and other relief.

44.     As a result of the unlawful discriminatory conduct of Defendant in violation of Title VII,

        Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress,

        including, but not limited to, depression, humiliation, embarrassment, stress and anxiety, loss

        of self-esteem and self-confidence, and emotional pain and suffering, for which she is entitled

        to an award of monetary damages and other relief.

45.     Defendant violated the section cited as set forth.

46.     Plaintiff is entitled to the maximum amount allowed under this statute/law.

      AS A THIRD CAUSE OF ACTION FOR DISCRIMINATION UNDER THE NYSHRL
                        (Not Against the Individual Defendant)
                                 (Sexual Harassment)

47.     Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this

        complaint.

                                                      7
Case 2:23-cv-01668-JMA-JMW
        Case 2:23-cv-01668 Document
                             Document
                                    1 54-1
                                      Filed 03/03/23
                                            Filed 04/29/24
                                                      Page 8
                                                           Page
                                                             of 118 PageID
                                                                    of 11 PageID
                                                                            #: 8 #: 386




48.   New York State Executive Law §296(1)(a) provides that:

          It shall be an unlawful discriminatory practice: For an employer or licensing
          agency, because of an individual’s age, race, creed, color, national origin, sexual
          orientation, military status, sex, disability, predisposing genetic characteristics,
          marital status, or domestic violence victim status, to refuse to hire or employ or to
          bar or to discharge from employment such individual or to discriminate against
          such individual in compensation or in terms, conditions or privileges of
          employment. (emphasis added)

49.   As described above, Defendant discriminated against Plaintiff on the basis of her sex, in

      violation of NYSHRL, by subjecting her to sexual harassment and creating, fostering,

      condoning, accepting, ratifying, and/or negligently failing to prevent or remedy a hostile work

      environment that included, among other things, sexual harassment of Plaintiff based on her

      sex.

50.   As a result of Defendant’s unlawful discriminatory conduct in violation of the NYSHRL,

      Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress,

      including, but not limited to, depression, humiliation, embarrassment, stress and anxiety, and

      emotional pain and suffering, for which he is entitled to an award of monetary damages and

      other relief.

51.   Defendant’s unlawful discriminatory actions constitute malicious, willful, and wanton

      violations of the NYSHRL, for which Plaintiff is entitled to an award of punitive damages.

             AS AND FOR A FOURTH CAUSE OF ACTION UNDER THE NYSHRL
                          (Not Against the Individual Defendants)
                           Retaliation in Violation of the NYSHRL

52.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this

      complaint.

53.   New York State Executive Law § 296(7) provides that:

          It shall be an unlawful discriminatory practice for any person engaged in any
          activity to which this section applies to retaliate or discriminate against any person

                                                    8
Case 2:23-cv-01668-JMA-JMW
        Case 2:23-cv-01668 Document
                             Document
                                    1 54-1
                                      Filed 03/03/23
                                            Filed 04/29/24
                                                      Page 9
                                                           Page
                                                             of 119 PageID
                                                                    of 11 PageID
                                                                            #: 9 #: 387




            because he or she has opposed any practices forbidden under this article or because
            he or she filed a complaint, testified, or assisted in any proceeding under this article.
54.     As described above, after Plaintiff engaged in activity protected by the NYSHRL, Defendant

        took adverse actions against Plaintiff by, inter alia, promptly terminating her employment, that

        would dissuade a reasonable employee from making or supporting a similar complaint of

        discrimination.

55.     Defendant violated this section as set forth herein.

56.     As a result of Defendant’s unlawful discriminatory conduct in violation of the NYSHRL,

        Plaintiff has suffered, and continues to suffer, economic loss, for which she is entitled to an

        award of monetary damages and other relief.

57.     As a result of Defendant’s unlawful discriminatory conduct in violation of the NYSHRL,

        Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress,

        including, but not limited to, depression, humiliation, embarrassment, stress and anxiety, and

        emotional pain and suffering, for which she is entitled to an award of monetary damages and

        other relief.

58.     Defendant’s unlawful discriminatory actions constitute malicious, willful, and wanton

        violations of the NYSHRL, for which Plaintiff is entitled to an award of punitive damages.

      AS A FIFTH CAUSE OF ACTION FOR DISCRIMINATION UNDER THE NYSHRL
                        (Against the Individual Defendant Only)
                                    (Aiding and Abetting)

59.     Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this

        complaint.

60.     New York State Executive Law § 296(6) provides that it shall be an unlawful discriminatory

        practice: “For any person to aid, abet, incite, compel or coerce the doing of any acts forbidden

        under this article, or attempt to do so.”


                                                       9
Case 2:23-cv-01668-JMA-JMW
       Case 2:23-cv-01668 Document
                            Document
                                   1 Filed
                                     54-1 03/03/23
                                           Filed 04/29/24
                                                     Page 10
                                                           Page
                                                             of 11
                                                                 10PageID
                                                                    of 11 PageID
                                                                           #: 10 #: 388




61.        Defendant Cooley violated this statute as set forth.

62.        Plaintiff is entitled to the maximum amount allowed under this statute.

                                                  JURY DEMAND
63.        Plaintiff requests a jury trial on all issues to be tried.

      WHEREFORE, Plaintiff respectfully requests a judgment against the Defendants:

      A.       Declaring that Defendants engaged in unlawful employment practices prohibited by Title

               VII of the Civil Right Act of 1964 and New York Human Rights Law in that Defendants

               created and maintained a hostile work environment and otherwise discriminated against

               Plaintiff on the basis of her sex and race;

      B.       Declaring that Defendants engaged in unlawful employment practices prohibited by Title

               VII of the Civil Right Act of 1964 and New York Human Rights Law in that Defendants

               retaliated against Plaintiff for making a complaint about sexual harassment;

      C.       Awarding damages to Plaintiff for all lost wages and benefits resulting from Defendants’

               unlawful discrimination and to otherwise make her whole for any losses suffered as a result

               of such unlawful employment practices;

      D.       Awarding Plaintiff compensatory damages for mental, emotional injury, distress, pain and

               suffering and injury to her reputation in an amount to be proven;

      E.       Awarding Plaintiff punitive damages;

      F.       Awarding Plaintiff attorneys’ fees, costs, disbursements, and expenses incurred in the

               prosecution of the action; and

      G.       Awarding Plaintiff such other and further relief as the Court may deem equitable, just and

               proper to remedy Defendants’ unlawful employment practices.

      Dated: Garden City, New York
             March 3, 2023


                                                           10
Case 2:23-cv-01668-JMA-JMW
       Case 2:23-cv-01668 Document
                            Document
                                   1 Filed
                                     54-1 03/03/23
                                           Filed 04/29/24
                                                     Page 11
                                                           Page
                                                             of 11
                                                                 11PageID
                                                                    of 11 PageID
                                                                           #: 11 #: 389




                                                      PHILLIPS & ASSOCIATES,
                                                      ATTORNEYS AT LAW, PLLC

                                               By:   ___________/s/________________
                                                      Joshua M. Friedman, Esq.
                                                      Attorneys for Plaintiff
                                                      585 Stewart Avenue, Suite 410
                                                      Garden City, New York 11530
                                                      T: (212) 248-7431
                                                      F: (212) 901-2107
                                                      jfriedman@tpglaws.com




                                          11
